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                      UNITED STATES DISTRICT COURT
                        DISTRICT OF CONNECTICUT

NATIONAL ASSOCIATION FOR
THE ADVANCEMENT OF COLORED
PEOPLE (“NAACP”), NAACP
CONNECTICUT STATE CONFERENCE,
JUSTIN FARMER, GERMANO KIMBRO,
CONLEY MONK, GARRY MONK,
DIONE ZACKERY,
  Plaintiffs,

           v.                                      3:18cv1094 (WWE)


DENISE MERRILL, Secretary
of State, et al.,
  Defendants

                       RULING ON MOTION TO DISMISS

      In    this   action,   plaintiffs   NAACP,   NAACP     Connecticut     State

Conference, Justin Farmer, Germano Kimbro, Conley Monk, Garry Monk

and Dione Zackery bring a constitutional challenge to the legislative

Redistricting Plan that Connecticut adopted in 2011; plaintiffs assert this

action against the Connecticut Secretary of State and Governor. Plaintiffs

seek a declaration that that the Redistricting Plan violates the Fourteenth

Amendment to the United States Constitution and seek an injunction against

its use in the 2020 elections. Specifically, plaintiffs allege that the legislative


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Redistricting Plan’s “unlawful prison gerrymandering” violates the principle

of “one person, one vote” encompassed by the Fourteenth Amendment.

      Defendants have filed a motion to dismiss for lack of jurisdiction and

failure to state a claim. For the following reasons, the Court will deny the

motion to dismiss.

                         FACTUAL BACKGROUND

      For purposes of ruling on this motion to dismiss, the Court assumes

that the factual allegations in the complaint are true.

      Plaintiff NAACP brings this action in its organizational capacity and its

representative capacity on behalf of its members who are adversely

affected by the unequal population of the legislative districts created by the

2011 Redistricting Plan. Plaintiff NAACP Connecticut State Conference

brings this action in its representative capacity on behalf of its

approximately 5,000 members, many of whom are registered voters

residing in the state legislative districts affected by the Redistricting Plan’s

prison gerrymandering, including House Districts 88, 91, 94, 95, 96, and

97.

      Plaintiff Justin Farmer is a resident of Hamden, Connecticut. He is a

registered voter in Connecticut State House District 94. In 2017, he was

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elected to the Hamden Legislative Council representing the Fifth District in

Hamden. Plaintiff Germano Kimbro is a resident of New Haven,

Connecticut. He is a registered voter in Connecticut State House District

95. Plaintiff Conley Monk is a resident of Hamden and a registered voter

in Connecticut State House District 88. Plaintiff Garry Monk is a resident

of New Haven and is a registered voter in Connecticut State House District

92. Plaintiff Dione Zackery is a resident of New Haven and registered

voter in Connecticut State House District 97.

      By Connecticut statutory law, no person is deemed to have lost his or

her residence in any town by reason of that person’s “absence therefrom in

any institution maintained by the state,” and “[n]o person who resides in

any institution maintained by the state shall be admitted as an elector in the

town in which such institution is located,” unless that person “proves to the

satisfaction of the admitting official that he is a bona fide resident of such

institution.” Conn. Gen. Stat. § 9-14.

      Plaintiffs allege that defendants have engaged in prison

gerrymandering by counting incarcerated people as residing in the state

facility where they are imprisoned, rather than at their preincarceration

address, for the purpose of drawing lines for state legislative districts.

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      Connecticut’s prisoners are disproportionately African-American and

Latino, and many prisoners maintain a permanent domicile in the state’s

urban centers. Many of the correctional facilities in Connecticut are

located in rural or lightly populated districts with large amounts of

individuals of Caucasian descent.

      Prison gerrymandering coupled with the geographic concentration of

prison facilities in certain rural areas results in the dilution of the votes of

residents in urban voting districts that are overpopulated as compared to

the districts that contain prison facilities. Thus, the individual plaintiffs,

who live in overpopulated districts, have substantially less voting power

than the residents of at least five State House Districts, and as many as

nine House Districts, including Districts 5, 37, 42, 52, 59, 61, 103, 106, and

108 and Senate District 7.

      Most Connecticut prisoners cannot vote under state law and have no

contact with the representatives of the districts in which they are

incarcerated. Incarcerated individuals do not visit or utilize public or

private establishments in the areas where they are incarcerated.

      When the incarcerated individuals are counted in their

preincarcerated districts, the gerrymandered House districts containing

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prison populations (House Districts 5, 37, 42, 52, 59, 61 103, 106, 108)

have more than 10% fewer residents than House District 97, the largest

House district; and Senate District 7 has more than 9% fewer residents

than Senate District 26, the largest Senate district.

      Thus, plaintiffs allege that the permanent residents of the prison-

gerrymandered districts have more influence over local affairs and greater

voting power than residents in other districts, including those districts that

were home to the prisoners prior to incarceration.

      Connecticut’s 2011 Redistricting Plan reflects neither electoral

nor representational equality.

                                 DISCUSSION

      “The standards of review for a motion to dismiss under Rule

12(b)(1) for lack of subject matter jurisdiction and under 12(b)(6) for failure

to state a claim are substantively identical.” Lerner v. Fleet Bank, N.A.,

318 F.3d 113, 128 (2d Cir. 2003).

      The function of a motion to dismiss is “merely to assess the legal

feasibility of the complaint, not to assay the weight of the evidence which

might be offered in support thereof.” Ryder Energy Distrib. v. Merrill Lynch

Commodities, Inc., 748 F.2d 774, 779 (2d Cir. 1984). In deciding a motion

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to dismiss, the Court must accept all well-pleaded allegations as true and

draw all reasonable inferences in favor of the pleader. Hishon v. King, 467

U.S. 69, 73 (1984). The complaint must contain the grounds upon which

the claim rests through factual allegations sufficient “to raise a right to relief

above the speculative level.” Bell Atl. Corp. v. Twombly, 550 U.S. 544,

555 (2007). A plaintiff is obliged to amplify a claim with some factual

allegations to allow the court to draw the reasonable inference that the

defendant is liable for the alleged conduct. Ashcroft v. Iqbal, 556 U.S.

662, 678 (2009).

      On a motion to dismiss for lack of subject matter jurisdiction, the party

who invokes federal jurisdiction bears the burden of proof to demonstrate

the existence of subject matter jurisdiction; on a motion to dismiss for

failure to make a claim, the movant bears the burden of proof. Gonzalez

v. Option One Mortg. Corp., 2014 WL 2475893, at *2 (D. Conn. June 3,

2014).

      Defendants maintain that plaintiffs have failed to allege that they are

subjected to an ongoing violation of federal law, and therefore, this action is

barred by Eleventh Amendment and should be dismissed for failure to state

a claim.

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      The Eleventh Amendment prohibits suits against a state, its

administrative agencies, and its state officials acting in their official

capacities, absent the state’s consent. See Alabama v. Pugh, 438 U.S.

781, 781–782 (1978);. Will v. Michigan Dep't of State Police, 491 U.S. 58,

71 (1989). In Ex Parte Young, 209 U.S. 123, 160 (1908), the Supreme

Court recognized a limited exception to Eleventh Amendment immunity for

suits against state officials in their official capacities seeking prospective

relief to prevent a continuing violation of federal law “because a state does

not have the power to shield its officials by granting them immunity from

responsibility to the supreme authority of the United States.” In re Dairy

Mart Convenience Stores, Inc., 411 F.3d 367, 371 (2d Cir. 2005).

      “No right is more precious in a free country than that of having a voice

in the election of those who make the laws under which, as good citizens,

we must live.” Wesberry v. Sanders, 376 U.S. 1, 17 (1964). The

fundamental principle of representative government in this country is one of

equal representation for equal numbers of people. Evenwel v. Abbott, 136

S. Ct. 1120, 1131 (2016).

      [A]s a basic constitutional standard, the Equal Protection Clause
      requires that the seats in both houses of a bicameral state legislature
      must be apportioned on a population basis. Simply stated, an

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      individual’s right to vote for state legislators is unconstitutionally
      impaired when its weight is in substantial fashion diluted when
      compared with votes of citizens living in other parts of the state.

Reynolds v. Sims, 377 U.S. 533, 568 (1964). In Reynolds, the Supreme

Court explained: “Whatever the means of accomplishment, the overriding

objective must be substantial equality of population among the various

districts, so that the vote of any citizen is approximately equal in weight to

that of any other citizen in the State.” Id. at 579. States must make “an

honest and good faith effort to construct districts, in both houses of its

legislature, as nearly of equal population as is practicable.” Id. at 577.

      “When a State exercises power wholly within the domain of state

interest, it is insulated from federal judicial review. But such insulation is

not carried over when state power is used as an instrument for

circumventing a federally protected right.” Gomillion v. Lightfoot, 364 U.S.

339, 347 (1960). Thus, federal courts have jurisdiction to consider

constitutional challenges to state legislative redistricting plans. Baker v.

Carr, 369 U.S. 186, 237 (1962) (allegations of denial of equal protection

present justiciable cause of action). Nevertheless, federal court review of

redistricting legislation “represents a serious intrusion on the most vital of

local functions,” and federal courts “must be sensitive” to the states’

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exercise of discretion and political judgment when balancing competing

interests in this area. Abbott v. Perez, 138 S. Ct. 2305, 2324 (2018).

      A redistricting map “presumptively complies with the one-person,

one- vote rule” if the “maximum population deviation between the largest

and the small district is less than 10%” when measured by a facially neutral

population baseline. Evenwel, 136 S. Ct. at 1124. A plaintiff bears the

burden to overcome the presumption of compliance by showing that the

legislature acted with “invidious intent” rather than good faith. Perez, 138

S. Ct. at 2325. Generally, total-population as measured by the decennial

census constitutes a permissible unit for calculating population equality for

drawing districts, although certain states do adjust those numbers to

remove certain groups from the total-population apportionment. Id. at

1124 n.3, & 1132.

      If a redistricting plan results in a population deviation of 10% or more

between the smallest and largest district, plaintiff has established a prima

facie case of an equal protection violation. Brown v. Thomson, 462 U.S.

835, 842-43 (1983). A defendant must then show that the plan is

nevertheless “an honest good faith effort to construct districts, in both

houses of its legislature, as nearly of equal population as is practicable.”

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Reynolds, 377 U.S. at 577. The state must show that the “legislature's

plan may reasonably be said to advance a rational state policy and, if so,

whether the population disparities among the districts that have resulted

from the pursuit of this plan exceed constitutional limits.” Brown, 462 U.S.

at 843.

      Defendants maintain that plaintiff cannot establish a prima facie case

with population deviations of 10% or more based on the total population

census data that were actually used for the redistricting. Defendants

assert that plaintiffs have improperly claimed to have established the prima

facie case by showing population deviations of more than 10% based upon

a population formula modified according to plaintiffs’ “own subjective beliefs

that prisoners do not receive effective representation from legislators in

their districts.” Defendants argue that this “is precisely the kind of political

judgment about the ‘nature of representation’ that this Court cannot

interfere with absent a showing of intentional discrimination.”

      Plaintiffs counter that states are not free to define inhabitants in a

manner that diminishes meaningful equal representation for its residents.

Plaintiffs point out that the Supreme Court has previously recognized that

total population census data should be modified when it results in

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“significant population disparities” that violate the Equal Protection Clause.

See Mahan v. Howell, 410 U.S. 315, 332 (1973) (holding that district court

did not err in declining to accord conclusive weight to the legislative

reliance on census figures). In Gaffney v. Cummings, 412 U.S. 735, 749

(1973), the Supreme Court noted that “[f]air and effective representation

may be destroyed by gross population variations among districts…” and

that “other relevant factors” and “important interests” may be taken into

account. Gaffney elaborated:

      An unrealistic overemphasis on raw population figures, a mere nose
      count in the districts, may submerge these other considerations and
      itself furnish a ready tool for ignoring factors that in day-to-day
      operation are important to an acceptable representation and
      apportionment arrangement.

Id.


      The instant case may be distinguishable from Evenwel, which held

that a redistricting plan had appropriately used total population census

numbers in the context of an action asserting that the Texas legislature

should draw legislative districts based upon the citizen-voting-age-

population. 136 S. Ct. at 1127. The Court reasoned that adopting voter-

eligible apportionment would undermine “equitable and fair representation”


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because representatives serve all residents, not just those eligible or

registered to vote, and because nonvoters, such as children, have an

important stake in the district’s policy debates. Id. at 1132. The instant

case implicates the plausible compromise of fair and effective

representation due to the Redistricting Plan’s reliance upon total population

census data when, by state law, incarcerated individuals are not even

considered residents of their prison location. Conn. Gen. Stat. § 9-14.

      Accordingly, construing all inferences of law and fact in favor of

plaintiff, the Court finds that it has jurisdiction over the plausibly alleged

ongoing violation of federal law. Review of whether the Redistricting Plan

violates the Equal Protection Clause is appropriate for a motion for

summary judgment. The Court will leave plaintiffs to their proof.

                                 CONCLUSION

      For the foregoing reasons, defendants’ motion to dismiss [doc. #14] is

DENIED. Within 21 days of this ruling’s filing date, the parties should

submit a schedule relevant to discovery and dispositive motion deadlines.

      Dated this 15th day of February 2019 at Bridgeport, Connecticut.

                                      /s/Warren W. Eginton
                                      Warren W. Eginton
                                      Senior U.S. District Judge

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